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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                          )
                             v.                                     )
                        ERIK RAU                                    )      Case No.
                     DOB: XX/XX/XXXX                                )
                                                                    )
                                                                    )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021               in the county of                                   in the
                       District of           Columbia           , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 1752(a)(1) and (2)                  knowingly enter or remain in any restricted building or grounds without lawful
                                                authority to do; knowingly, and with intent to impede or disrupt the orderly
                                                conduct of Government business
40 U.S.C. § 5104(e)(2)(D) and (G)
                                                which makes it a crime to willfully and utter loud, threatening, or abusive
                                                language, or engage in disorderly or disruptive conduct; parade,
                                                demonstrate, or picket in any of the Capitol Buildings



         This criminal complaint is based on these facts:
See attached statement of facts




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                        Derek R. Corral, Special Agent
                                                                                                Printed name and title

Sworn to before me and signed in my presence.                                                               2021.07.13
                                                                                                            15:55:03
Date:             07/13/2021                                                                                -04'00'
                                                                                                  Judge’s signature

City and state:                         Washington, D.C.                             Robin M. Meriweather, Special Agent
                                                                                                Printed name and title
